                              Case 3:21-cv-00583-SRU Document 47 Filed 05/20/21 Page 1 of 1
                                                                                                                             Civil- (Dec-2008)
                                                               HONORABLE:                 Stefan R. Underhill
                                     DEPUTY CLERK Kathleen Simon (D.Barry) RPTR/ECRO/TAPE Sharon Masse
       TOTAL TIME: 6                  hours 18 minutes
                                        DATE: 05/20/21       START TIME: 9:00 a.m.      END TIME: 5:46 p.m.
                                                          LUNCH RECESS        FROM: see notes  TO:
                                                  RECESS (if more than ½ hr)  FROM:            TO:

       CIVIL NO. 3:21-cv-00583-SRU


                      Sarah Lazor et al.                                                      F. Duffy, P. Thomas, C. Diallo
                                                                                                      Plaintiff’s Counsel
                                        vs
                      University of Connecticut                                               R. Miller McGovern, S. Rutchick
                                                                                                      Defendant’s Counsel

                                                      COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing                TRO                 Show Cause Hearing
                                Evidentiary Hearing                             Judgment Debtor Exam
                                Miscellaneous Hearing

         ✔ .....#2          Motion for Temporary Restraining Order                               granted        denied ✔ advisement
             .....#         Motion                                                               granted        denied       advisement
             .....#         Motion                                                               granted        denied       advisement
             .....#         Motion                                                               granted        denied       advisement
             .....#         Motion                                                               granted        denied       advisement
            .....#          Motion                                                               granted        denied       advisement
            .....#          Motion                                                               granted        denied       advisement
            .....           Oral Motion                                                          granted        denied       advisement
            .....           Oral Motion                                                          granted        denied       advisement
            .....           Oral Motion                                                          granted        denied       advisement
           .....            Oral Motion                                                          granted        denied       advisement
            .....              Briefs(s) due                        Proposed Findings due                  Response due
           .............                                                                                             filed   docketed
           .............                                                                                             filed   docketed
           .............                                                                                             filed   docketed
           .............                                                                                             filed    docketed
            .............                                                                                            filed   docketed
            .............                                                                                            filed   docketed
            ............                              Hearing continued until                                   at

Notes: Time: 9:00 - 9:56, 10:46 - 1:18, 2:30 - 2:55, 3:05 - 4:29. 4:45 - 5:46
